                          Case 24-13181-hlb                Doc 1       Entered 06/25/24 17:43:58                   Page 1 of 71


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Varaluz, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4445 Harmon Cove Court, Suites 4-6
                                  Las Vegas, NV 89103
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       varaluz.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                          Case 24-13181-hlb                  Doc 1         Entered 06/25/24 17:43:58                       Page 2 of 71
Debtor    Varaluz, LLC                                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                            Case 24-13181-hlb                      Doc 1        Entered 06/25/24 17:43:58                     Page 3 of 71
Debtor    Varaluz, LLC                                                                                    Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                        Case 24-13181-hlb             Doc 1   Entered 06/25/24 17:43:58                  Page 4 of 71
Debtor   Varaluz, LLC                                                                Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                         Case 24-13181-hlb                 Doc 1        Entered 06/25/24 17:43:58                      Page 5 of 71
Debtor    Varaluz, LLC                                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 25, 2024
                                                  MM / DD / YYYY


                             X /s/ Ronald F. Henderson                                                    Ronald F. Henderson
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X /s/ Talitha Gray Kozlowski                                                  Date June 25, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Talitha Gray Kozlowski 9040
                                 Printed name

                                 Garman Turner Gordon LLP
                                 Firm name

                                 7251 Amigo Street, Suite 210
                                 Las Vegas, NV 89119
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     725-777-3000                  Email address


                                 9040 NV
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Varaluz, LLC

United States Bankruptcy Court for the:     DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration       Statement of Financial Affairs

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 25, 2024                   X /s/ Ronald F. Henderson
                                                           Signature of individual signing on behalf of debtor

                                                            Ronald F. Henderson
                                                            Printed name

                                                            Managing Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                         Case 24-13181-hlb                Doc 1         Entered 06/25/24 17:43:58                          Page 10 of 71


 Fill in this information to identify the case:
 Debtor name Varaluz, LLC
 United States Bankruptcy Court for the: DISTRICT OF NEVADA                                                                                  Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 VPI/ La Forge                                       Manufacturer                                                                                              $545,027.71
 Lighting and
 Furniture Inc
 Building 14,
 Berthaphil #1
 Compound
 Jose Abad Santos
 Ave Clakr Freeport
 Zone
 Pampanga PH 2009
 Philippines
 White Road Capital                                  Merchant                  Contingent                                                                      $261,838.00
 LLC dba GFE                                         Agreement                 Disputed
 Holdings
 Attn: Managing
 Member or
 Bankruptcy Dept
 27-01 Queens Plaza
 North, Ste. 802
 Long Island City, NY
 11101
 Square Funding Cali                                 Merchant                  Contingent                                                                      $190,006.47
 LLC                                                 Agreement                 Disputed
 Attn: Managing
 Member or
 Bankruptcy Dept
 90 E Halsey Rd.
 Parsippany, NJ
 07054
 Kalamata Capital                                    Merchant                  Contingent                                                                      $182,972.50
 Group, LLC                                          Agreement                 Disputed
 Attn: Managing
 Member or
 Bankruptcy Dept
 1 Blue Hill Plaza
 Lobby Level #1509
 Pearl River, NY
 10965

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Varaluz, LLC                                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Jorge Hernandez                                     Employee                                                                                                  $127,390.66
 4112 Glenfield Cir.                                 Reimbursement
 Las Vegas, NV
 89129
 American Express                                    Business line of                                                                                          $115,519.12
 National Bank                                       credit
 Attn: Managing
 Member or
 Bankruptcy Dept
 c/o CT Corporation
 System
 28 Liberty Street
 New York, NY 10005
 Schnitzer Properties                                Landlord                                                                                                  $105,000.00
 Attn: Managing
 Member or
 Bankruptcy Dept
 3111 South Valley
 View Blvd., Ste.
 K101
 Las Vegas, NV
 89102
 Andmore                                             Rent                                                                                                        $71,013.16
 Attn: Managing
 Member or
 Bankruptcy Dept
 c/o International
 Market Centers LP
 475 S. Grand Central
 Parkway #1615
 Las Vegas, NV
 89106
 Merged Funding                                      Merchant                  Contingent                                                                        $66,255.80
 Group Corp.                                         Agreement                 Disputed
 Attn: Managing
 Member or
 Bankruptcy Dept
 1 Princeton Ave.
 Brick, NJ 08724
 Cloudfund LLC                                       Merchant                  Contingent                                                                        $59,700.81
 Attn: Managing                                      Agreement                 Disputed
 Member or
 Bankruptcy Dept
 400 Rella Blvd., Ste.
 165-101
 Suffern, NY 10901




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    Varaluz, LLC                                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Elight                                              Sales                                                                                                       $52,146.89
 BrandJump LLC                                       Representative
 Attn: Managing
 Member or
 Bankruptcy Dept
 21550 Oxnard St.,
 3rd Flr.
 Woodland Hills, CA
 91367
 Light Inc.                                          Sales                                                                                                       $41,815.93
 Jeff Skippon                                        Representative
 J2MK dba Light LLC
 2421 W. 205th
 Street, Ste. D-107
 Torrance, CA 90503
 York Sales LLC                                      Sales                                                                                                       $37,027.40
 Attn: Kelly York                                    Representative
 701 Bardfield Ave.
 Garland, TX 75041
 Mitchell Winston                                    Sales                                                                                                       $30,271.41
 2020 Old Prescott                                   Representative
 Ct.
 Richmond, VA
 23238
 American Express                                    Credit Card                                                                                                 $29,551.62
 Skymiles Reserve
 Purp
 Attn Managing
 Member or
 Bankruptcy Dept
 200 Vesey Streeet
 New York, NY 10281
 Kellee                                              Partner Loan                                                                                                $27,500.00
 Hollenback-Hammo
 nd
 1109 Clubview
 Court
 Monroe, GA 30655
 AUSPI Group LLC                                     Freight                                                                                                     $27,080.03
 Attn: Managing                                      Consulting Firm
 Member or
 Bankruptcy Dept
 417 South Associate
 Rd., #102
 Brea, CA 92821
 Starry Lights LLC                                   Sales                                                                                                       $26,081.79
 Attn: Jerry R. Starry                               Representative
 200 Fennel St.
 New Alexandria, PA
 15670




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
                          Case 24-13181-hlb               Doc 1         Entered 06/25/24 17:43:58                          Page 13 of 71



 Debtor    Varaluz, LLC                                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Netsuite - Oracle                                   IT Software                                                                                                 $20,068.19
 America, Inc.
 Attn: Managing
 Member or
 Bankruptcy Dept
 Bank of America
 Lockbox Services
 15612 Collections
 Center Dr.
 Chicago, IL 60693
 Richard Alan &                                      Sales                                                                                                       $19,010.95
 Associates                                          Representative
 Attn: Managing
 Member or
 Bankruptcy Dept
 232 Gruene Trail
 Allen, TX 75002




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 4
                            Case 24-13181-hlb                                 Doc 1              Entered 06/25/24 17:43:58                                           Page 14 of 71

Fill in this information to identify the case:

Debtor name           Varaluz, LLC

United States Bankruptcy Court for the:                      DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $        2,758,605.36

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $        2,758,605.36


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           145,835.46


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           442,613.28

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        2,376,107.05


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           2,964,555.79




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
                       Case 24-13181-hlb              Doc 1        Entered 06/25/24 17:43:58                       Page 15 of 71

Fill in this information to identify the case:

Debtor name         Varaluz, LLC

United States Bankruptcy Court for the:     DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest
2.        Cash on hand                                                                                                                                      $0.00



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Wells Fargo                                       Checking                              4401                                             $0.00




          3.2.     Wells Fargo                                       Savings                               9727                                             $0.00




          3.3.     Nevada State Bank                                 Checking - Operations                 4499                                     $1,351.76



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $1,351.76
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
                        Case 24-13181-hlb               Doc 1       Entered 06/25/24 17:43:58                      Page 16 of 71

Debtor           Varaluz, LLC                                                               Case number (If known)
                 Name

          Description, including name of holder of deposit


          7.1.     Landlord - Dallas Market Center, Highpoint, Las Vegas Market Center                                                  $19,932.47




          7.2.     Customer (Custom Items)                                                                                             $280,739.43



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                          $300,671.90
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                   833,765.67       -                             73,496.41 = ....                  $760,269.26
                                       face amount                            doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                          $760,269.26
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used   Current value of
                                             physical inventory            debtor's interest         for current value       debtor's interest
                                                                           (Where available)

19.       Raw materials
          Lighting Inventory                                                    $1,443,855.67        Book Value                      $1,443,855.67



20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                         $1,443,855.67
          Add lines 19 through 22. Copy the total to line 84.
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 2
                     Case 24-13181-hlb                 Doc 1         Entered 06/25/24 17:43:58                 Page 17 of 71

Debtor       Varaluz, LLC                                                                   Case number (If known)
             Name



24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                               Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture

40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Computers, Ipads, Monitors, Printers,
          Computer Software, Other Hardware, Office
          Furnishings                                                                     $0.00     Book Value                       $184,055.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                          $184,055.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
                     Case 24-13181-hlb                Doc 1         Entered 06/25/24 17:43:58                  Page 18 of 71

Debtor       Varaluz, LLC                                                                Case number (If known)
             Name

          General description                                          Net book value of             Valuation method used    Current value of
          Include year, make, model, and identification numbers        debtor's interest             for current value        debtor's interest
          (i.e., VIN, HIN, or N-number)                                (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Forklift, Racks, Pallet Jacks, Dolly, Rolling
          Ladders, Carts, Tool Carts                                                   $0.00         Depreciation Sch                   $66,554.00




51.       Total of Part 8.                                                                                                           $66,554.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
              No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and             Net book value of             Valuation method used   Current value of
          property                              extent of              debtor's interest             for current value       debtor's interest
          Include street address or other       debtor's interest      (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. Four Leases - Las
                   Vegas Warehouse,
                   Las Vegas
                   Showroom,
                   Highpoint
                   Showroom, Dallas
                   Showroom                     Leasehold                              $0.00                                                     $0.00




56.       Total of Part 9.                                                                                                                  $0.00
          Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
          Copy the total to line 88.

57.       Is a depreciation schedule available for any of the property listed in Part 9?

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                              page 4
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Debtor        Varaluz, LLC                                                                 Case number (If known)
              Name


              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of          Valuation method used   Current value of
                                                                        debtor's interest          for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           Intellectual Property - Smart Application
           Software, Windows small business server,
           Windows small business server client, Smart
           Software                                                               $25,294.00       Book Value                         Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           Customer list - Design work product, TMore                              Unknown                                            Unknown



64.        Other intangibles, or intellectual property

65.        Goodwill
           Goodwill                                                                Unknown                                            Unknown



66.        Total of Part 10.                                                                                                             $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 5
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Debtor      Varaluz, LLC                                                               Case number (If known)
            Name



                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.      Notes receivable
         Description (include name of obligor)
         Refund from Department                                         1,847.77 -                                  0.00 =
         Employment Training and Rehab                         Total face amount     doubtful or uncollectible amount                   $1,847.77



72.      Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

73.      Interests in insurance policies or annuities

74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                                            $1,847.77
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                          page 6
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Debtor          Varaluz, LLC                                                                                        Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $1,351.76

81. Deposits and prepayments. Copy line 9, Part 2.                                                               $300,671.90

82. Accounts receivable. Copy line 12, Part 3.                                                                   $760,269.26

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                           $1,443,855.67

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                        $184,055.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $66,554.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                    $1,847.77

91. Total. Add lines 80 through 90 for each column                                                         $2,758,605.36            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,758,605.36




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 7
                          Case 24-13181-hlb                    Doc 1          Entered 06/25/24 17:43:58                  Page 22 of 71

Fill in this information to identify the case:

Debtor name          Varaluz, LLC

United States Bankruptcy Court for the:            DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
       SBA U.S. Small Business
2.1                                                                                                                      $145,835.46               $145,835.46
       Administration                               Describe debtor's property that is subject to a lien
       Creditor's Name                              All assets
       Attn: Managing Member or
       Bankruptcy Dept
       409 3rd St., SW
       Washington, DC 20416
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.         $145,835.46

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
                        Case 24-13181-hlb                   Doc 1           Entered 06/25/24 17:43:58                      Page 23 of 71

Fill in this information to identify the case:

Debtor name        Varaluz, LLC

United States Bankruptcy Court for the:         DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $4,277.53         $4,277.53
          A502 Elite                                          Check all that apply.
          Elite Sales Group/Luxeco                               Contingent
          Attn: Managing Member or                               Unliquidated
          Bankruptcy Dept                                        Disputed
          3301 Hickory Ridge
          Edmond, OK 73013
          Date or dates debt was incurred                     Basis for the claim:
                                                              Sales representative
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                 $70.00        $70.00
          Amber Tubbs                                         Check all that apply.
          831 Garden Breeze Way                                  Contingent
          Las Vegas, NV 89123                                    Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Employee Wages
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 19
                                                                                                              50329
                        Case 24-13181-hlb                 Doc 1           Entered 06/25/24 17:43:58                           Page 24 of 71

Debtor      Varaluz, LLC                                                                             Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $1,714.78   $1,714.78
         Angela Smith                                       Check all that apply.
         5549 Belmont Drive, Apt. 203                          Contingent
         Winston Salem, NC 27106                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $16,589.64   $15,150.00
         Brad Buntz                                         Check all that apply.
         100 E Main Street                                     Contingent
         Robins, IA 52328                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $4,277.53   $4,277.53
         Carolina Fixture Sales, Inc.                       Check all that apply.
         Attn: Managing Member or                              Contingent
         Bankruptcy Dept                                       Unliquidated
         1310 S Tryon St., #107                                Disputed
         Columbia, SC 29203
         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $582.06    $582.06
         Cohen Scalia Agency                                Check all that apply.
         Attn: Managing Member                                 Contingent
         7465 Trans Canada West                                Unliquidated
         St. Laurent QC H4T1T3                                 Disputed
         Canada
         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 2 of 19
                        Case 24-13181-hlb                 Doc 1           Entered 06/25/24 17:43:58                           Page 25 of 71

Debtor      Varaluz, LLC                                                                             Case number (if known)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $1,100.80   $1,100.80
         CSR Associates                                     Check all that apply.
         Attn: Managing Member or                              Contingent
         Bankruptcy Dept                                       Unliquidated
         5315 N. Pennsylvania St.                              Disputed
         Indianapolis, IN 46220
         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $6,219.04   $6,219.04
         Dunn Lighting Sales                                Check all that apply.
         Attn: Managing Member or                              Contingent
         Bankruptcy Dept                                       Unliquidated
         765 SE Cedar Falls Way                                Disputed
         North Bend, WA 98045
         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $2,612.81   $2,612.81
         Elite Lighting - Rick Taylor &                     Check all that apply.
         Julie Jenkins                                         Contingent
         Attn: Managing Member or                              Unliquidated
         Bankruptcy Dept                                       Disputed
         553 Rita Place
         Castle Rock, CO 80108
         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $148.25    $148.25
         Estrin Calabrese Sales                             Check all that apply.
         Attn: Managing Member or                              Contingent
         Bankruptcy Dept                                       Unliquidated
         17 S Main Street, Ste. 3                              Disputed
         Manville, NJ 08835
         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Varaluz, LLC                                                                             Case number (if known)
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $17,944.89   $15,150.00
         Framburg                                           Check all that apply.
         Lighting Resource Group                               Contingent
         Attn: Managing Member or                              Unliquidated
         Bankruptcy Dept                                       Disputed
         2341 Trillium Lane
         Naperville, IL 60565
         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $2,504.51   $2,504.51
         Jeremy Hamilton                                    Check all that apply.
         8828 Quail Country Way                                Contingent
         Apt. 27 103                                           Unliquidated
         Las Vegas, NV 89117                                   Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Employee Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $13,382.69   $13,382.69
         John Howard                                        Check all that apply.
         Agency 51 LLC                                         Contingent
         Attn: Managing Member or                              Unliquidated
         Bankruptcy Dept                                       Disputed
         4783 Capital Dr.
         Lake Worth, FL 33463
         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $127,390.66   $15,150.00
         Jorge Hernandez                                    Check all that apply.
         4112 Glenfield Cir.                                   Contingent
         Las Vegas, NV 89129                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2022-2024                                          Employee Reimbursement
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Varaluz, LLC                                                                             Case number (if known)
            Name

2.15     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $2,108.48   $2,108.48
         Jorge Hernandez Carillo                            Check all that apply.
         4112 Glenfield Circle                                 Contingent
         Las Vegas, NV 89129                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.16     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $1,701.40   $1,701.40
         Justin Seria                                       Check all that apply.
         175 Coyote Hills Street                               Contingent
         Henderson, NV 89012                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.17     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $5,703.29   $5,703.29
         Kellee Hammond                                     Check all that apply.
         1109 Clubview Court                                   Contingent
         Monroe, GA 30655                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.18     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $12,694.68   $12,694.68
         Kornblatt and Associates, LLC                      Check all that apply.
         Attn: Managing Member or                              Contingent
         Bankruptcy Dept                                       Unliquidated
         114 Bergerville Rd.                                   Disputed
         Freehold, NJ 07728
         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Varaluz, LLC                                                                             Case number (if known)
            Name

2.19     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $2,108.48   $2,108.48
         Langlais Group, Inc.                               Check all that apply.
         Attn: Managing Member or                              Contingent
         Bankruptcy Dept                                       Unliquidated
         11 Sea Pave Rd.                                       Disputed
         South Windsor, CT 06074
         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.20     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $6,667.48   $6,667.48
         Lejend Marketing                                   Check all that apply.
         BLJ Solutions                                         Contingent
         Attn: Managing Member or                              Unliquidated
         Bankruptcy Dept                                       Disputed
         27070 88 Ave.
         Langley BC V1M 3L8 Canada
         Date or dates debt was incurred                    Basis for the claim:
         2023- 2024                                         Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.21     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $41,815.93   $15,150.00
         Light Inc.                                         Check all that apply.
         Jeff Skippon                                          Contingent
         J2MK dba Light LLC                                    Unliquidated
         2421 W. 205th Street, Ste. D-107                      Disputed
         Torrance, CA 90503
         Date or dates debt was incurred                    Basis for the claim:
         2023 - 2024                                        Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.22     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $1,182.61   $1,182.61
         Lillian Apodaca                                    Check all that apply.
         6767 W Windmill Lane #2090                            Contingent
         Las Vegas, NV 89139                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Varaluz, LLC                                                                             Case number (if known)
            Name

2.23     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $1,467.05   $1,467.05
         Lisa Dearmon                                       Check all that apply.
         1801 Little Bow Ave.                                  Contingent
         North Las Vegas, NV 89084                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.24     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $1,381.79   $1,381.79
         Luz Carrillo                                       Check all that apply.
         4112 Glenfield Circle                                 Contingent
         Las Vegas, NV 89129                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.25     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $506.23    $506.23
         Maria Davalos Torres                               Check all that apply.
         4112 Glenfield Circle                                 Contingent
         Las Vegas, NV 89129                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.26     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $2,221.94   $2,221.94
         Marilyn Vazquez Femenias                           Check all that apply.
         11041 Leadwell Street                                 Contingent
         Los Angeles, CA 91352                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Varaluz, LLC                                                                             Case number (if known)
            Name

2.27     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $4,705.67   $4,705.67
         Martin Design Group                                Check all that apply.
         Attn: Managing Member or                              Contingent
         Bankruptcy Dept                                       Unliquidated
         3876 Thunderbolt Lane                                 Disputed
         Pacific, MO 63069
         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.28     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $30,271.41   $15,150.00
         Mitchell Winston                                   Check all that apply.
         2020 Old Prescott Ct.                                 Contingent
         Richmond, VA 23238                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
          2024                                              Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.29     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $14,052.42   $14,052.42
         Pacific Lifeforce Sales LLC                        Check all that apply.
         Attn: Managing Member or                              Contingent
         Bankruptcy Dept                                       Unliquidated
         20381 Lake Forest Dr., Ste. B-18                      Disputed
         Lake Forest, CA 92630
         Date or dates debt was incurred                    Basis for the claim:
         2023 - 2024                                        Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.30     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $19,010.95   $15,150.00
         Richard Alan & Associates                          Check all that apply.
         Attn: Managing Member or                              Contingent
         Bankruptcy Dept                                       Unliquidated
         232 Gruene Trail                                      Disputed
         Allen, TX 75002
         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Varaluz, LLC                                                                             Case number (if known)
            Name

2.31     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $3,209.32   $3,209.32
         Ryan Davidson Sales                                Check all that apply.
         Attn: Managing Member or                              Contingent
         Bankruptcy Dept                                       Unliquidated
         3030 Virginia St.                                     Disputed
         Miami, FL 33133
         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.32     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $26,081.79   $15,150.00
         Starry Lights LLC                                  Check all that apply.
         Attn: Jerry R. Starry                                 Contingent
         200 Fennel St.                                        Unliquidated
         New Alexandria, PA 15670                              Disputed

         Date or dates debt was incurred                    Basis for the claim:
          2024                                              Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.33     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $11,619.40   $11,619.40
         Tennessee Lighting Sales                           Check all that apply.
         Attn: Brian Thomas, LW Carter                         Contingent
         2730 Larmon Ave.                                      Unliquidated
         Nashville, TN 37204                                   Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.34     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $787.09    $787.09
         The Midwest LightingGroup                          Check all that apply.
         Attn: Managing Member or                              Contingent
         Bankruptcy Dept                                       Unliquidated
         6070 Oak Drive                                        Disputed
         Demotte, IN 46310
         Date or dates debt was incurred                    Basis for the claim:
         2024                                               Sales Representative
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor        Varaluz, LLC                                                                               Case number (if known)
              Name

2.35       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $2,252.94         $2,252.94
           The Oliver Group Canada Ltd.                         Check all that apply.
           Attn: Managing Member or                                Contingent
           Bankruptcy Dept                                         Unliquidated
           239 Denney Drive                                        Disputed
           Angus ON L0M 1B1
           Canada
           Date or dates debt was incurred                      Basis for the claim:
           2024                                                 Sales Representative
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes


2.36       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $8,758.27         $8,758.27
           Vince Hall & Associates                              Check all that apply.
           Attn: Vince Hall                                        Contingent
           2012 Fern Mountain Lane                                 Unliquidated
           Marietta, GA 30064                                      Disputed

           Date or dates debt was incurred                      Basis for the claim:
           2024                                                 Sales Representative
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes


2.37       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $6,462.07         $6,462.07
           Vincent Ingato Sales                                 Check all that apply.
           Attn: Managing Member or                                Contingent
           Bankruptcy Dept                                         Unliquidated
           2514 Peachtree Drive                                    Disputed
           Perkasie, PA 18944
           Date or dates debt was incurred                      Basis for the claim:
           2024                                                 Sales Representative
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes


2.38       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                             $37,027.40         $15,150.00
           York Sales LLC                                       Check all that apply.
           Attn: Kelly York                                        Contingent
           701 Bardfield Ave.                                      Unliquidated
           Garland, TX 75041                                       Disputed

           Date or dates debt was incurred                      Basis for the claim:
           2024                                                 Sales Representative
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




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Debtor      Varaluz, LLC                                                                    Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $7,340.00
         Accessories Resource Team, Inc.                              Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         PO Box 31813                                                 Disputed
         Charlotte, NC 28231
                                                                   Basis for the claim: Trade organization
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $15,196.82
         AFCO                                                         Contingent
         Atn: Managing Member or Bankruptcy Dept                      Unliquidated
         150 N. Field Dr., Ste. 190                                   Disputed
         Lake Forest, IL 60045
                                                                   Basis for the claim: Liability insurance
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Alliance Capital US LLC                                      Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         1377 Motor Pkwy., Ste. LL-5
         Hauppauge, NY 11749                                          Disputed

         Date(s) debt was incurred 12/4/2023                       Basis for the claim: Merchant Agreement

         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $7,369.47
         American Express Black Corporate                             Contingent
         Attn Managing Member or Bankruptcy Dept                      Unliquidated
         200 Vesey St.                                                Disputed
         New York, NY 10285
                                                                   Basis for the claim: Credit Card
         Date(s) debt was incurred
         Last 4 digits of account number 5550                      Is the claim subject to offset?     No       Yes


3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $115,519.12
         American Express National Bank
         Attn: Managing Member or Bankruptcy Dept                     Contingent
         c/o CT Corporation System                                    Unliquidated
         28 Liberty Street                                            Disputed
         New York, NY 10005
                                                                   Basis for the claim: Business line of credit
         Date(s) debt was incurred xx6417
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $29,551.62
         American Express Skymiles Reserve Purp                       Contingent
         Attn Managing Member or Bankruptcy Dept                      Unliquidated
         200 Vesey Streeet                                            Disputed
         New York, NY 10281
                                                                   Basis for the claim: Credit Card
         Date(s) debt was incurred
         Last 4 digits of account number 5560                      Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,960.00
         American Lighting Association                                Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         2050 N Stemmons Freeway, Unit 100                            Disputed
         Dallas, TX 75207
                                                                   Basis for the claim: Trade Association
         Date(s) debt was incurred 2/1/2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Varaluz, LLC                                                                    Case number (if known)
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $71,013.16
         Andmore
         Attn: Managing Member or Bankruptcy Dept                     Contingent
         c/o International Market Centers LP                          Unliquidated
         475 S. Grand Central Parkway #1615                           Disputed
         Las Vegas, NV 89106
                                                                   Basis for the claim: Rent
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $27,080.03
         AUSPI Group LLC                                              Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         417 South Associate Rd., #102                                Disputed
         Brea, CA 92821
                                                                   Basis for the claim: Freight Consulting Firm
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,169.72
         Bradley Personnel, Inc.                                      Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         41 S Talbert St.
                                                                      Disputed
         Lexington, NC 27295
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,583.46
         CCA Global Partners                                          Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         PO Box 538030                                                Disputed
         Atlanta, GA 30353
                                                                   Basis for the claim: Buying Group
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $59,700.81
         Cloudfund LLC                                                Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         400 Rella Blvd., Ste. 165-101
         Suffern, NY 10901                                            Disputed

         Date(s) debt was incurred 9/22/2023                       Basis for the claim: Merchant Agreement

         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $7,405.00
         CSA Group International                                      Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         PO Box 74008295                                              Disputed
         Chicago, IL 60674
                                                                   Basis for the claim: Underwriter
         Date(s) debt was incurred 7/10/2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,691.40
         Dallas Market Center
         WTC-Trade Mart 2015,LP                                       Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         PO Box 845467                                                Disputed
         Dallas, TX 75284
                                                                   Basis for the claim: Rent
         Date(s) debt was incurred May 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Varaluz, LLC                                                                    Case number (if known)
            Name

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,601.58
         Daniel Rodriguez                                             Contingent
         1 Yew Street                                                 Unliquidated
         Las Vegas, NV 89110                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Employee Wages
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $14,000.00
         DesignMYX                                                    Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         11684 Ventura Blvd., #861
                                                                      Disputed
         Studio City, CA 91604
                                                                   Basis for the claim:
         Date(s) debt was incurred 8/1/2023, 9/16/2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,100.00
         Dustin Walker                                                Contingent
         2804 Edge Rock Circle                                        Unliquidated
         Las Vegas, NV 89117                                          Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $52,146.89
         Elight
         BrandJump LLC                                                Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         21550 Oxnard St., 3rd Flr.                                   Disputed
         Woodland Hills, CA 91367
                                                                   Basis for the claim: Sales Representative
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $8,750.00
         Eurie Creative                                               Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         633 S 4th Street, Ste. 9                                     Disputed
         Las Vegas, NV 89101
                                                                   Basis for the claim: Service
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $18,545.80
         FedEx Ground and Parcel                                      Contingent
         Attn: Managing Member or Banruptcy Dept                      Unliquidated
         PO Box 7221                                                  Disputed
         Pasadena, CA 91109
                                                                   Basis for the claim: Service - Shipping
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $65.33
         FedExTrade Networks CANADA
         Attn: Managing Member or Bankruptcy Dept                     Contingent
         Box 916200, PO Box 4090, Station A                           Unliquidated
         Toronto ON M5W 0E9                                           Disputed
         Canada
                                                                   Basis for the claim: Service - Shipping
         Date(s) debt was incurred 5/22/2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Varaluz, LLC                                                                    Case number (if known)
            Name

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $145.02
         IVG Lighting                                                 Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         1636 Savage Drive                                            Disputed
         Plano, TX 75023
                                                                   Basis for the claim: Sales Representative
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,325.49
         J Wilson Sales, Inc.                                         Contingent
         Attn: Jimmy Wilson                                           Unliquidated
         295 Matterhorn Dr.                                           Disputed
         Park City, UT 84098
                                                                   Basis for the claim:
         Date(s) debt was incurred 2023 - 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $182,972.50
         Kalamata Capital Group, LLC
         Attn: Managing Member or Bankruptcy Dept                     Contingent
         1 Blue Hill Plaza                                            Unliquidated
         Lobby Level #1509                                            Disputed
         Pearl River, NY 10965
                                                                   Basis for the claim: Merchant Agreement
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $27,500.00
         Kellee Hollenback-Hammond                                    Contingent
         1109 Clubview Court                                          Unliquidated
         Monroe, GA 30655                                             Disputed
         Date(s) debt was incurred 6/30/2023 - 3/31/2024
                                                                   Basis for the claim: Partner Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $820.33
         Lighting Group Utah Inc.
         Attn: Managing Member or Bankruptcy Dept                     Contingent
         12272 S 800 E                                                Unliquidated
         Suite C                                                      Disputed
         Draper, UT 84020
                                                                   Basis for the claim: Sales Representative
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $6,882.44
         LightIng Vision                                              Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         6461 S Sedalia                                               Disputed
         Aurora, CO 80016
                                                                   Basis for the claim: Sales Representative
         Date(s) debt was incurred 2023 - 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $10,000.00
         Meredith Corp                                                Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         PO Box 730148                                                Disputed
         Dallas, TX 75373
                                                                   Basis for the claim: Advertising
         Date(s) debt was incurred 4/26/2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Varaluz, LLC                                                                    Case number (if known)
            Name

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $66,255.80
         Merged Funding Group Corp.                                   Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         1 Princeton Ave.
         Brick, NJ 08724                                              Disputed

         Date(s) debt was incurred 11/15/2023                      Basis for the claim: Merchant Agreement

         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,901.42
         MTS Logistics Inc.                                           Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         5 West 37th Street, Ste. 300                                 Disputed
         New York, NY 10018
                                                                   Basis for the claim: Freight Company
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         NACM Commercial Services                                     Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         606 N Pines, Ste. 102                                        Disputed
         Spokane, WA 99206
                                                                   Basis for the claim: Service
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $20,068.19
         Netsuite - Oracle America, Inc.
         Attn: Managing Member or Bankruptcy Dept                     Contingent
         Bank of America Lockbox Services                             Unliquidated
         15612 Collections Center Dr.                                 Disputed
         Chicago, IL 60693
                                                                   Basis for the claim: IT Software
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $8,333.33
         Plotline Online                                              Contingent
         Attn: Maureen Olson                                          Unliquidated
         11117 Stanley Ave. S.                                        Disputed
         Bloomington, MN 55437
                                                                   Basis for the claim: Services
         Date(s) debt was incurred 3/1/2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $18.52
         ProductCare
         Attn: Managing Member or Bankruptcy Dept                     Contingent
         420-2238                                                     Unliquidated
         Youkon Street                                                Disputed
         Vancouver BC V5Y 3P2
                                                                   Basis for the claim: Services
         Date(s) debt was incurred 3/15/2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $9,702.56
         Rommel Bundalian Designs
         Attn: Managing Member or Bankruptcy Dept                     Contingent
         Bldg. #14, Berthaphil 1 Compound                             Unliquidated
         Jose Abad Santos Ave.                                        Disputed
         Clark Freeport Zone, Clark Pampanga 2009
                                                                   Basis for the claim: Services
         Date(s) debt was incurred 2023 -2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



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Debtor      Varaluz, LLC                                                                    Case number (if known)
            Name

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $140,000.00
         Ronald Henderson                                             Contingent
         4112 Glenfield Cir.                                          Unliquidated
         Las Vegas, NV 89129                                          Disputed
         Date(s) debt was incurred 3/2024
                                                                   Basis for the claim: Reimbursement for personal loan (Pinacle Bank)
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $75,480.76
         Ronald Henderson                                             Contingent
         4112 Glenfield Cir.                                          Unliquidated
         Las Vegas, NV 89129                                          Disputed
         Date(s) debt was incurred 2/2024
                                                                   Basis for the claim: Reimbursement for loan (SoFi Bank, N.A.)
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $24,192.77
         Ronald Henderson                                             Contingent
         4112 Glenfield Cir.                                          Unliquidated
         Las Vegas, NV 89129                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Reimbursement for business expense (Mastercard
         Last 4 digits of account number                           Apple)
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $129,391.69
         Ronald Henderson                                             Contingent
         4112 Glenfiled Cir.                                          Unliquidated
         Las Vegas, NV 89129                                          Disputed
         Date(s) debt was incurred 3/23/2022 -12/31/2023
                                                                   Basis for the claim: Partner Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $78,428.33
         Rossy Wu Bundalian
         Bldg. #14, Berthaphil 1 Compound                             Contingent
         Jose Abad Santos Ave.                                        Unliquidated
         Clark Freeport Zone, Clark Pampanga 2009                     Disputed
         Philippines
                                                                   Basis for the claim: Partner Loan - LLC Partner Loan LFRWB
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $105,000.00
         Schnitzer Properties                                         Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         3111 South Valley View Blvd., Ste. K101                      Disputed
         Las Vegas, NV 89102
                                                                   Basis for the claim: Landlord
         Date(s) debt was incurred 1/2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $11,562.50
         Smithsonian Consumer Licensing                               Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         PO Box 418813                                                Disputed
         Boston, MA 02241
                                                                   Basis for the claim: License Fee Q2
         Date(s) debt was incurred 3/31/2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Varaluz, LLC                                                                    Case number (if known)
            Name

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,799.33
         Spacial EFX                                                  Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         2820 Shearwater Lane                                         Disputed
         Frederick, MD 21701
                                                                   Basis for the claim: Services
         Date(s) debt was incurred 2023 - 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $6,544.70
         Spectra Marketing Group
         Attn: Managing Member or Bankruptcy Dept                     Contingent
         200 Davis Dr.. Unit 9                                        Unliquidated
         Newmarket, ON ON L3Y 2N4                                     Disputed
         Canada
                                                                   Basis for the claim: Buyers Association
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $190,006.47
         Square Funding Cali LLC                                      Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         90 E Halsey Rd.
         Parsippany, NJ 07054                                         Disputed

         Date(s) debt was incurred 11/8/2023                       Basis for the claim: Merchant Agreement

         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Super Cat Solutions                                          Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         PO Box 8098                                                  Disputed
         Wilson, NC 27896
                                                                   Basis for the claim:
         Date(s) debt was incurred 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $958.88
         The Carlson Group                                            Contingent
         Attn: Managing Member or Bankruptcy Dept                     Unliquidated
         123 Conductor Way
                                                                      Disputed
         Folsom, CA 95630
                                                                   Basis for the claim: Sales Representative
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $160.10
         TOPS Lighting
         Huaihua Qianyang International Trade Co.                     Contingent
         No. 6, Zhongtai West Road, Hetang Town                       Unliquidated
         Pengijang District Jiangmen                                  Disputed
         China
                                                                   Basis for the claim: Vendor; Service providor
         Date(s) debt was incurred 5/17/2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $545,027.71
         VPI/ La Forge Lighting and Furniture Inc
         Building 14, Berthaphil #1 Compound                          Contingent
         Jose Abad Santos Ave Clakr Freeport Zone                     Unliquidated
         Pampanga PH 2009                                             Disputed
         Philippines
                                                                   Basis for the claim: Manufacturer
         Date(s) debt was incurred 2023 - 2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



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Debtor       Varaluz, LLC                                                                           Case number (if known)
             Name

3.50      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $261,838.00
          White Road Capital LLC dba GFE Holdings                              Contingent
          Attn: Managing Member or Bankruptcy Dept                             Unliquidated
          27-01 Queens Plaza North, Ste. 802
          Long Island City, NY 11101                                           Disputed

          Date(s) debt was incurred 6/2/2023                               Basis for the claim: Merchant Agreement

          Last 4 digits of account number                                  Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Alliance Caipital US LLC
          Attn: Managing Member or Bankruptcy Dept                                                  Line     3.3
          1225 Franklin Ave., Ste. 325
                                                                                                           Not listed. Explain
          Garden City, NY 11530

4.2       American Express Business Line of Credit
          Attn: Managing Member or Bankruptcy Dept                                                  Line     3.5                                    6417
          PO Box570622
                                                                                                           Not listed. Explain
          Atlanta, GA 30357

4.3       Cloudfund LLC
          Attn: Vadim Serebro, Esq.                                                                 Line     3.12
          Max Rcovery Group LLC
                                                                                                           Not listed. Explain
          55 Broadway, 3rd Floor
          New York, NY 10006

4.4       Kalamata Capital Group, LLC
          Attn: Ariel Bouskila, Esq.                                                                Line     3.24
          Berkovitch & Bouskila, PLLC
                                                                                                           Not listed. Explain
          1545 U.S. 202, Ste. 101
          Pomona, NY 10970

4.5       Merged Funding Group Corp.
          Attn: Isaac H. Greenfield, Esq.                                                           Line     3.29
          Law Offices of Isaac H. Greenfield, PLLC
                                                                                                           Not listed. Explain
          2 Executive Blvd., Ste 305
          Suffern, NY 10901

4.6       Square Funding Cali LLC
          Attn: David Fogel, Esq.                                                                   Line     3.45
          1225 Franklin Ave., Ste. 201
                                                                                                           Not listed. Explain
          Garden City, NY 11530

4.7       Wells Fargo
          Writs and Levies Dept. D1111-01A                                                          Line     3.50                                   6324
          Attn: Operation Mgr -Legal Order Process
                                                                                                           Not listed. Explain
          PO Box 1416
          Charlotte, NC 28201

4.8       White Road Capital LLC dba GFE Holdings
          Attn: Steven Zakharyayev, Esq.                                                            Line     3.50
          10 W 37th Street, RM 602
                                                                                                           Not listed. Explain
          New York, NY 10018


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

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Debtor      Varaluz, LLC                                                                Case number (if known)
            Name


5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                              5a.       $                    442,613.28
5b. Total claims from Part 2                                                              5b.   +   $                  2,376,107.05

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.       $                    2,818,720.33




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Fill in this information to identify the case:

Debtor name        Varaluz, LLC

United States Bankruptcy Court for the:      DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           World Market Ceter Las
             lease is for and the nature of       Vegas Building B -
             the debtor's interest                Lease Agreement -
                                                  Showroom B-280
                State the term remaining          10/31/2029                        International Market Centers
                                                                                    Attn: Legal and Lease Admin
             List the contract number of any                                        240 Peachtree StreetNW, Ste. 2200
                   government contract                                              Atlanta, GA 30303


2.2.         State what the contract or           Highpooint Showroom
             lease is for and the nature of       MS204
             the debtor's interest

                State the term remaining
                                                                                    Iternational Market Centers 204
             List the contract number of any                                        305 W. High Avenue
                   government contract                                              High Point, NC 27260


2.3.         State what the contract or           Lease
             lease is for and the nature of
             the debtor's interest

                State the term remaining          4 years                           Schnitzer Properties
                                                                                    Attn: Managing Member or Bankruptcy Dept
             List the contract number of any                                        3111 South Valley View Blvd., Ste. K101
                   government contract                                              Las Vegas, NV 89102


2.4.         State what the contract or           Lease
             lease is for and the nature of
             the debtor's interest
                                                                                    WTC-Trade Mart 2015, L.P.
                State the term remaining          9/2028                            Market Center Management Company, Ltd.
                                                                                    Attn Managing Member or Bankruptcy Dept
             List the contract number of any                                        2100 Stemmons Freeway
                   government contract                                              Dallas, TX 75207




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Varaluz, LLC

United States Bankruptcy Court for the:   DISTRICT OF NEVADA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Ronald                      4112 Glenfield Circle                                     SBA U.S. Small                     D   2.1
          Henderson                   Las Vegas, NV 89129                                       Business                           E/F
                                                                                                Administration
                                                                                                                                   G




   2.2    Ronald                      4112 Glenfield Circle                                     Cloudfund LLC                      D
          Henderson                   Las Vegas, NV 89129                                                                          E/F       3.12
                                                                                                                                   G




   2.3    Ronald                      4112 Glenfield Circle                                     Square Funding Cali                D
          Henderson                   Las Vegas, NV 89129                                       LLC                                E/F       3.45
                                                                                                                                   G




   2.4    Ronald                      4112 Glenfield Circle                                     White Road Capital                 D
          Henderson                   Las Vegas, NV 89129                                       LLC dba GFE                        E/F       3.50
                                                                                                Holdings
                                                                                                                                   G




   2.5    Ronald                      4112 Glenfield Circle                                     Merged Funding                     D
          Henderson                   Las Vegas, NV 89129                                       Group Corp.                        E/F       3.29
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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Debtor    Varaluz, LLC                                                            Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Ronald                   4112 Glenfield Circle                               Kalamata Capital                   D
          Henderson                Las Vegas, NV 89129                                 Group, LLC                         E/F   3.24
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
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Fill in this information to identify the case:

Debtor name         Varaluz, LLC

United States Bankruptcy Court for the:    DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                           Gross revenue
      which may be a calendar year                                                    Check all that apply                         (before deductions and
                                                                                                                                   exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                              $2,225,122.78
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                              $6,865,344.30
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                              $8,007,174.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue            Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value          Reasons for payment or transfer
                                                                                                                       Check all that apply




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      Creditor's Name and Address                          Dates                 Total amount of value          Reasons for payment or transfer
                                                                                                                Check all that apply
      3.1.
             ADP, Inc.                                     Payroll                         $252,346.54            Secured debt
             Attn: Managing Member or Bankruptcy           processed                                              Unsecured loan repayments
             Dept                                          every few                                              Suppliers or vendors
             PO Box 31001                                  days                                                   Services
             Pasadena, CA 91110                            between
                                                           March 1,                                               Other Payroll
                                                           2024 - May
                                                           31, 2024
      3.2.
             Alliane Capital US LLC                        3/1/24,                          $32,150.00            Secured debt
             Attn: Managing Member or Bankruptcy           3/4/24,                                                Unsecured loan repayments
             Dept                                          3/5/24,                                                Suppliers or vendors
             377 Motor Pkwy, Ste. LL-5 Hauppauge           3/6/24,                                                Services
             Happauge, NY 11749                            3/7/24,
                                                           3/8/24,                                                Other MCA payments
                                                           3/11/24,
                                                           3/12/24,
                                                           3/13/24,
                                                           3/14/24,
                                                           3/15/24,
                                                           3/18/24,
                                                           3/19,24,
                                                           3/20/24,
                                                           3/21/24,
                                                           3/22/24,
                                                           3/25,24,
                                                           3/26/24,
                                                           3/27/24,
                                                           3/28/24,
                                                           3/29/24,
                                                           4/1/24,
                                                           4/2/24,
                                                           4/3/24,
                                                           4/4/24,
                                                           4/5/24,
                                                           4/8/24,
                                                           4/9/24,
                                                           4/10/24,
                                                           4/11/24,
                                                           4/12/24,
                                                           4/15/24,
                                                           4/16/24,
                                                           4/17/24,
                                                           4/18/24,
                                                           4/19/24,
                                                           4/22/24,
                                                           4/23/24,
                                                           4/24/24,
                                                           4/25/24,
                                                           4/26/24,
                                                           4/29/24,
                                                           5/2/24,
                                                           5/29/24
      3.3.
             Federal Express                               Daily                           $108,163.13            Secured debt
             Attn: Managing Member or Bankruptcy           shipments of                                           Unsecured loan repayments
             Dept                                          product                                                Suppliers or vendors
             PO Box 7221                                   3/1/24 -                                               Services
             Pasadena, CA 91109                            5/31/24
                                                                                                                  Other Outgoing freight



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Debtor       Varaluz, LLC                                                                 Case number (if known)



      Creditor's Name and Address                            Dates                 Total amount of value          Reasons for payment or transfer
                                                                                                                  Check all that apply
      3.4.
             Heartland Payment Systems                       3/1/24,                            $9,076.37           Secured debt
             Attn: Managing Member or Bankruptcy             3/4/24,                                                Unsecured loan repayments
             Dept                                            4/1/24,                                                Suppliers or vendors
             5850 Granite Pkwy                               5/1/24,                                                Services
             Plano, TX 75024
                                                                                                                    Other Credit card processing
                                                                                                                  fees

      3.5.
             IMC License SPE, LLC                            3/4/24,                          $32,728.67            Secured debt
             Attn: Managing Member or Bankruptcy             4/1/24,                                                Unsecured loan repayments
             Dept                                                                                                   Suppliers or vendors
             PO Box 748912                                                                                          Services
             Los Angeles, CA 90074
                                                                                                                    Other Market Square Las
                                                                                                                  Vegas showroom and High
                                                                                                                  Point showroom rent

      3.6.
             United Health Services                          3/4/24,                          $28,516.50            Secured debt
                                                             4/3/24, 5/7/24                                         Unsecured loan repayments
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other Health Insurance


      3.7.
             Clover - First Data                             3/4/24,                          $11,745.10            Secured debt
             Attn: Managing Member or Bankruptcy             4/3/24, 5/3/24                                         Unsecured loan repayments
             Dept                                                                                                   Suppliers or vendors
             PO Box 2394                                                                                            Services
             Omaha, NE 68103
                                                                                                                    Other Credit card processing
                                                                                                                  fees

      3.8.
             American Express                                3/8/24,                          $57,000.00            Secured debt
             Attn: Managing Member or Bankruptcy             3/13/24,                                               Unsecured loan repayments
             Dept                                            3/18/24,                                               Suppliers or vendors
             PO Box 981535                                   3/21/24,                                               Services
             El Paso, TX 79998                               3/27/24,
                                                             4/1/24,                                                Other Business credit card
                                                             4/8/24,                                              payment
                                                             4/11/24,
                                                             4/18/24,
                                                             4/22/24,
                                                             4/30/24,
                                                             5/3/24,
                                                             5/6/24,
                                                             5/7/24,
                                                             5/8/24,
                                                             5/9/24,
                                                             5/14,24,
                                                             5/17/24,
                                                             5/20/24,
                                                             5/24/24,
                                                             5/31/24




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Debtor       Varaluz, LLC                                                                Case number (if known)



      Creditor's Name and Address                           Dates                 Total amount of value          Reasons for payment or transfer
                                                                                                                 Check all that apply
      3.9.
             Schnitzer Properties                           3/12/24,                         $61,520.89            Secured debt
             Attn: Managing Member or Bankruptcy            3/15/24,                                               Unsecured loan repayments
             Dept                                           3/19/24,                                               Suppliers or vendors
             3111 South Valley View Blvd., Ste.             4/22/24,                                               Services
             K101
             Las Vegas, NV 89102                                                                                   Other Las Vegas warehouse
                                                                                                                 rent

      3.10
      .
           Plotline Online                                  3/19/24,                           $8,333.34           Secured debt
             Attn: Maureen Olson                            4/29/24,                                               Unsecured loan repayments
             11117 Stanley Ave.S                                                                                   Suppliers or vendors
             Bloomington, MN 55437                                                                                 Services
                                                                                                                   Other Website and ecommerc
                                                                                                                 support firm

      3.11
      .
           American Express Small Business                  3/20/24,                         $39,562.31            Secured debt
             Loan                                           4/18/24,                                               Unsecured loan repayments
             Attn: Managing Member or Bankruptcy            5/20/24                                                Suppliers or vendors
             Dept                                                                                                  Services
             PO Box 98135
             El Paso, TX 79998                                                                                     Other Small business loan


      3.12
      .
           Serendipity & Co.                                3/27/24,                         $16,500.00            Secured debt
             Attn: Managing Member or Bankruptcy            4/30/24,                                               Unsecured loan repayments
             Dept                                           5/14/24                                                Suppliers or vendors
             20 Broad St., Apt.513
                                                                                                                   Services
             New York, NY 10005
                                                                                                                   Other


      3.13
      .
           MTS Logistics Inc.                               3/27/24,                         $45,171.09            Secured debt
             Attn Managing Member or Bankruptcy             5/16/24,                                               Unsecured loan repayments
             Dept                                           5/28/24                                                Suppliers or vendors
             5 West 37th Street, Ste. 300                                                                          Services
             New York, NY 10018
                                                                                                                    Other Container import
                                                                                                                 freight and duties.

      3.14
      .
           La Forge                                         3/29/24,                         $28,525.84            Secured debt
             Attn: Managing Member or Bankruptcy            5/6/24,                                                Unsecured loan repayments
             Dept                                           5/16/24                                                Suppliers or vendors
             Bldg. #14 Berthaphil 1 Compound                                                                       Services
             Jose Abad
             Santos Avenue                                                                                         Other Service fees and Rossy
                                                                                                                 Bundalian loan payment

      3.15
      .
           Huaihua - TOPS Lighting                          3/29/24                          $26,287.41            Secured debt
             No. 6 Zhongtai West Road                                                                              Unsecured loan repayments
             Hetang Town Pengjang District                                                                         Suppliers or vendors
             Jiangman China                                                                                        Services
                                                                                                                   Other Inventory Purchase




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      Creditor's Name and Address                                  Dates                 Total amount of value          Reasons for payment or transfer
                                                                                                                        Check all that apply
      3.16
      .
           Dallas Market Center                                    3/29/24,                         $23,586.88            Secured debt
             WTC-Trade Mart 2015, LP                               5/14/24                                                Unsecured loan repayments
             Attn: Managing Member or Bankruptcy                                                                          Suppliers or vendors
             Dept                                                                                                         Services
             PO Box 845467
             Dallas, TX 75284                                                                                             Other Showroom Rent


      3.17
      .
           Garman Turner Gordon LLP                                5/13/24,                         $50,000.00            Secured debt
             7251 Amigo Street                                     6/14/24                                                Unsecured loan repayments
             Ste. 210                                                                                                     Suppliers or vendors
             Las Vegas, NV 89119                                                                                          Services
                                                                                                                          Other Retainer


      3.18
      .
           CCA Global Partners, Inc.                               5/13/24,                         $10,893.10            Secured debt
             Attn: Managing Member or Bankruptcy                   5/31/24                                                Unsecured loan repayments
             Dept                                                                                                         Suppliers or vendors
             PO Box 538030                                                                                                Services
             Atlanta, GA 30353
                                                                                                                          Other Lighting One rebates



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value          Reasons for payment or transfer
      Relationship to debtor
      4.1.   Ronald Henderson                                      6/18/23 -                        $51,917.79          Reimbursement of company
             4112 Glenfield Cir.                                   6/18/24                                              expenses
             Las Vegas, NV 89129
             President

      4.2.   Rossy Wu Bundalian                                    6/13/23                          $79,200.00          Loan payments
             Bldg. #14, Berthaphil 1 Compund                       7/10/23,
             Jose Abad Santos Ave.                                 8/17/23,
             Clark Freeport Zone. Clark Pampanga                   9/22/23,
             2009                                                  10/10/23,
             Philippines                                           11/10,23,
             Partner                                               12/22/23,
                                                                   1/15/24,
                                                                   2/15/24,
                                                                   3/14/24,
                                                                   5/16/24

      4.3.   Ronald Henderson                                      6/18/23 -                       $175,982.59          Payroll (including taxes)
             4112 Glenfield Cir.                                   6/18/24
             Las Vegas, NV 89129

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




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          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Merged Funding Group Corp.                Breach of                   Supreme Court of the State                    Pending
             v. Varaluz LLC and Ronald                 Contract                    of NY                                         On appeal
             Franklin Henderson                                                    County of Kings
                                                                                                                                 Concluded
             500126/2024                                                           360 Adams Street, Room
                                                                                   123
                                                                                   Brooklyn, NY 11201

      7.2.   Square Funding Cali LLC v.                Breach of                   Supreme Court of the State                    Pending
             Varaluz LLC and Ronald                    Contract                    of NY                                         On appeal
             Franklin Henderson                                                    County of Kings
                                                                                                                                 Concluded
             537502/2023                                                           360 Adams Street, Room
                                                                                   123
                                                                                   Brooklyn, NY 11202

      7.3.   Kalamata Capital Group, LLC               Breach of                   Supreme Court of the State                    Pending
             v. Varaluz LLC dba Varaluz                Contract                    of NY                                         On appeal
             Casa; Laforge Design Group;                                           County of Rockland
                                                                                                                                 Concluded
             Varaluz, LLC; VaraluzLLC;                                             1 South Main Street
             Varaluz Lighting; Varaluz and                                         New City, NY 10956
             Ronald Franklin Henderson
             036634/2023

      7.4.   White Road Capital LLC d/b/a              Breach of                   Supreme Court of the State                    Pending
             GFE Holdings v. Varaluz LLC               Contract                    of NY                                         On appeal
             and Ronald Franklin                                                   County of Monroe
                                                                                                                                 Concluded
             Henderson                                                             99 Exchange Blvd.
             E2024006105                                                           Hall of Justice, 5th Flr.,
                                                                                   Room 545
                                                                                   Rochester, NY 14614

      7.5.   Cloudfund, LLC v. Varaluz                 Breach of                   Supreme Court of the State                    Pending
             LLC d/b/a Varaluz and Ronald              Contract                    of NY                                         On appeal
             F. Henderson                                                          Count of Queens
                                                                                                                                 Concluded
             703963/2024                                                           Jamaica Court House
                                                                                   88-11 Sutphin Blvd.
                                                                                   Jamaica, NY 11435


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
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    receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address              Description of the gifts or contributions                  Dates given                       Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and              Amount of payments received for the loss                   Dates of loss        Value of property
      how the loss occurred                                                                                                                          lost
                                                        If you have received payments to cover the loss, for
                                                        example, from insurance, government compensation, or
                                                        tort liability, list the total received.

                                                        List unpaid claims on Official Form 106A/B (Schedule
                                                        A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received               If not money, describe any property transferred               Dates            Total amount or
               the transfer?                                                                                                                      value
               Address
      11.1.    Garman Turner Gordon LLP
               7251 Amigo Street
               Ste. 210
               Las Vegas, NV 89119                                                                                      6/14/24               $40,000.00

               Email or website address
               gtg.legal

               Who made the payment, if not debtor?




      11.2.    Garman Turner Gordon LLP
               7251 Amigo Street
               Ste. 210
               Las Vegas, NV 89119                                                                                      5/13/24               $10,000.00

               Email or website address
               gtg.legal

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
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Debtor      Varaluz, LLC                                                                         Case number (if known)



    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.



                  Does the debtor have a privacy policy about that information?
                     No
                     Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units


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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Ron Henderson
                    4112 Glenfield Circle
                    Las Vegas, NV 89129

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Ron Henderson
                    4112 Glenfield Circle
                    Las Vegas, NV 89129

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 10
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Debtor      Varaluz, LLC                                                                       Case number (if known)




             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory
      27.1 Ronald Henderson
      .                                                                            12/1/23                  $1,561,401.64

             Name and address of the person who has possession of
             inventory records
             Ronald Henderson
             4445 Harmon Cove Court, Suites 4-6
             Las Vegas, NV 89103


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Ronald Henderson                       4112 Glenfield Circle                               Manager and Majority                    79.5395%
                                             Las Vegas, NV 89129                                 Member

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Huan Wu                                La Forge Designs, Inc.                              Member                                  10.23025%
                                             Building #14, Berthaphil 1 Compound
                                             Jose Abad Santos Ave. Clark
                                             Freeport Zon
                                             Clark, Pampanga, Philippines, 2023
      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Rommel Bundalian                       La Forge Desings, Inc.                              Member                                  10.23025%
                                             Building #14 Berthaphil 1 Compound
                                             Jose Abad Santos Ave. Clark
                                             Freeport Zon
                                             Clark, Pampanga Philippines, 2023


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 See SOFA #4
      .

             Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?



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Debtor      Varaluz, LLC                                                                        Case number (if known)




           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         June 25, 2024

/s/ Ronald F. Henderson                                         Ronald F. Henderson
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                        United States Bankruptcy Court
                                                                     District of Nevada
 In re       Varaluz, LLC                                                                                     Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 50,000.00
             Prior to the filing of this statement I have received                                        $                 50,000.00
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:
                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:
                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;



6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     June 25, 2024
     Date                                                                     Talitha Gray Kozlowski 9040
                                                                              Signature of Attorney
                                                                              Garman Turner Gordon LLP
                                                                              7251 Amigo Street, Suite 210
                                                                              Las Vegas, NV 89119
                                                                              725-777-3000
                                                                              Name of law firm
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                                                      United States Bankruptcy Court
                                                                     District of Nevada
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                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Huan Wu- La Forge Designs, Inc.                                                                                              10.23025% Member
Bldg. #14, Bertaphil 1 Compound
Jose Abad Santos Ave.
Clark Freeport Zone, Clark Pampanga 2009
Philippines

Rommel Bundalian- La Forge Designs, Inc.                                                                                     10.23025% Member
Bldg. #14, Berthaphil Compound
Jose Abad Santos Ave.
Clark Feeport Zone, Clark Pampanga 2009
Philippines

Ronald Henderson                                                                                                             79.5395% Member
Ronald Henderson
7751 Spanish Bay Dr.
Las Vegas, NV 89113


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date June 25, 2024                                                       Signature /s/ Ronald F. Henderson
                                                                                        Ronald F. Henderson

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                              United States Bankruptcy Court
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                                                                   Debtor(s)                   Chapter     11




                                  VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:    June 25, 2024                                 /s/ Ronald F. Henderson
                                                       Ronald F. Henderson/Managing Member
                                                       Signer/Title
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                  Varaluz, LLC
                  4445 Harmon Cove Court, Suites 4-6
                  Las Vegas, NV 89103

                  Talitha Gray Kozlowski
                  Garman Turner Gordon LLP
                  7251 Amigo Street, Suite 210
                  Las Vegas, NV 89119

                  A502 Elite
                  Elite Sales Group/Luxeco
                  Attn: Managing Member or Bankruptcy Dept
                  3301 Hickory Ridge
                  Edmond, OK 73013

                  Accessories Resource Team, Inc.
                  Attn: Managing Member or Bankruptcy Dept
                  PO Box 31813
                  Charlotte, NC 28231

                  AFCO
                  Atn: Managing Member or Bankruptcy Dept
                  150 N. Field Dr., Ste. 190
                  Lake Forest, IL 60045

                  Alliance Caipital US LLC
                  Attn: Managing Member or Bankruptcy Dept
                  1225 Franklin Ave., Ste. 325
                  Garden City, NY 11530

                  Alliance Capital US LLC
                  Attn: Managing Member or Bankruptcy Dept
                  1377 Motor Pkwy., Ste. LL-5
                  Hauppauge, NY 11749

                  Amber Tubbs
                  831 Garden Breeze Way
                  Las Vegas, NV 89123

                  American Express Black Corporate
                  Acct No xxx5550
                  Attn Managing Member or Bankruptcy Dept
                  200 Vesey St.
                  New York, NY 10285

                  American Express Business Line of Credit
                  Acct No xx6417
                  Attn: Managing Member or Bankruptcy Dept
                  PO Box570622
                  Atlanta, GA 30357
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              American Express National Bank
              Attn: Managing Member or Bankruptcy Dept
              c/o CT Corporation System
              28 Liberty Street
              New York, NY 10005

              American Express Skymiles Reserve Purp
              Acct No xxx5560
              Attn Managing Member or Bankruptcy Dept
              200 Vesey Streeet
              New York, NY 10281

              American Lighting Association
              Attn: Managing Member or Bankruptcy Dept
              2050 N Stemmons Freeway, Unit 100
              Dallas, TX 75207

              Andmore
              Attn: Managing Member or Bankruptcy Dept
              c/o International Market Centers LP
              475 S. Grand Central Parkway #1615
              Las Vegas, NV 89106

              Angela Smith
              5549 Belmont Drive, Apt. 203
              Winston Salem, NC 27106

              AUSPI Group LLC
              Attn: Managing Member or Bankruptcy Dept
              417 South Associate Rd., #102
              Brea, CA 92821

              Brad Buntz
              100 E Main Street
              Robins, IA 52328

              Bradley Personnel, Inc.
              Attn: Managing Member or Bankruptcy Dept
              41 S Talbert St.
              Lexington, NC 27295

              Carolina Fixture Sales, Inc.
              Attn: Managing Member or Bankruptcy Dept
              1310 S Tryon St., #107
              Columbia, SC 29203

              CCA Global Partners
              Attn: Managing Member or Bankruptcy Dept
              PO Box 538030
              Atlanta, GA 30353

              Cloudfund LLC
              Attn: Managing Member or Bankruptcy Dept
              400 Rella Blvd., Ste. 165-101
              Suffern, NY 10901
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              Cloudfund LLC
              Attn: Vadim Serebro, Esq.
              Max Rcovery Group LLC
              55 Broadway, 3rd Floor
              New York, NY 10006

              Cohen Scalia Agency
              Attn: Managing Member
              7465 Trans Canada West
              St. Laurent QC H4T1T3
              Canada

              CSA Group International
              Attn: Managing Member or Bankruptcy Dept
              PO Box 74008295
              Chicago, IL 60674

              CSR Associates
              Attn: Managing Member or Bankruptcy Dept
              5315 N. Pennsylvania St.
              Indianapolis, IN 46220

              Dallas Market Center
              WTC-Trade Mart 2015,LP
              Attn: Managing Member or Bankruptcy Dept
              PO Box 845467
              Dallas, TX 75284

              Daniel Rodriguez
              1 Yew Street
              Las Vegas, NV 89110

              Dept. of Employment, Training & Rehab
              Employment Security Division
              500 East Third Street
              Carson City, NV 89713

              DesignMYX
              Attn: Managing Member or Bankruptcy Dept
              11684 Ventura Blvd., #861
              Studio City, CA 91604

              Dunn Lighting Sales
              Attn: Managing Member or Bankruptcy Dept
              765 SE Cedar Falls Way
              North Bend, WA 98045

              Dustin Walker
              2804 Edge Rock Circle
              Las Vegas, NV 89117
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              Elight
              BrandJump LLC
              Attn: Managing Member or Bankruptcy Dept
              21550 Oxnard St., 3rd Flr.
              Woodland Hills, CA 91367

              Elite Lighting - Rick Taylor &
              Julie Jenkins
              Attn: Managing Member or Bankruptcy Dept
              553 Rita Place
              Castle Rock, CO 80108

              Estrin Calabrese Sales
              Attn: Managing Member or Bankruptcy Dept
              17 S Main Street, Ste. 3
              Manville, NJ 08835

              Eurie Creative
              Attn: Managing Member or Bankruptcy Dept
              633 S 4th Street, Ste. 9
              Las Vegas, NV 89101

              FedEx Ground and Parcel
              Attn: Managing Member or Banruptcy Dept
              PO Box 7221
              Pasadena, CA 91109

              FedExTrade Networks CANADA
              Attn: Managing Member or Bankruptcy Dept
              Box 916200, PO Box 4090, Station A
              Toronto ON M5W 0E9
              Canada

              Framburg
              Lighting Resource Group
              Attn: Managing Member or Bankruptcy Dept
              2341 Trillium Lane
              Naperville, IL 60565

              Internal Revenue Service
              PO Box 7346
              Philadelphia, PA 19101

              International Market Centers
              Attn: Legal and Lease Admin
              240 Peachtree StreetNW, Ste. 2200
              Atlanta, GA 30303

              Iternational Market Centers 204
              305 W. High Avenue
              High Point, NC 27260
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              IVG Lighting
              Attn: Managing Member or Bankruptcy Dept
              1636 Savage Drive
              Plano, TX 75023

              J Wilson Sales, Inc.
              Attn: Jimmy Wilson
              295 Matterhorn Dr.
              Park City, UT 84098

              Jeremy Hamilton
              8828 Quail Country Way
              Apt. 27 103
              Las Vegas, NV 89117

              John Howard
              Agency 51 LLC
              Attn: Managing Member or Bankruptcy Dept
              4783 Capital Dr.
              Lake Worth, FL 33463

              Jorge Hernandez
              4112 Glenfield Cir.
              Las Vegas, NV 89129

              Jorge Hernandez Carillo
              4112 Glenfield Circle
              Las Vegas, NV 89129

              Justin Seria
              175 Coyote Hills Street
              Henderson, NV 89012

              Kalamata Capital Group, LLC
              Attn: Managing Member or Bankruptcy Dept
              1 Blue Hill Plaza
              Lobby Level #1509
              Pearl River, NY 10965

              Kalamata Capital Group, LLC
              Attn: Ariel Bouskila, Esq.
              Berkovitch & Bouskila, PLLC
              1545 U.S. 202, Ste. 101
              Pomona, NY 10970

              Kellee Hammond
              1109 Clubview Court
              Monroe, GA 30655

              Kellee Hollenback-Hammond
              1109 Clubview Court
              Monroe, GA 30655
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              Kornblatt and Associates, LLC
              Attn: Managing Member or Bankruptcy Dept
              114 Bergerville Rd.
              Freehold, NJ 07728

              Langlais Group, Inc.
              Attn: Managing Member or Bankruptcy Dept
              11 Sea Pave Rd.
              South Windsor, CT 06074

              Lejend Marketing
              BLJ Solutions
              Attn: Managing Member or Bankruptcy Dept
              27070 88 Ave.
              Langley BC V1M 3L8 Canada

              Light Inc.
              Jeff Skippon
              J2MK dba Light LLC
              2421 W. 205th Street, Ste. D-107
              Torrance, CA 90503

              Lighting Group Utah Inc.
              Attn: Managing Member or Bankruptcy Dept
              12272 S 800 E
              Suite C
              Draper, UT 84020

              LightIng Vision
              Attn: Managing Member or Bankruptcy Dept
              6461 S Sedalia
              Aurora, CO 80016

              Lillian Apodaca
              6767 W Windmill Lane #2090
              Las Vegas, NV 89139

              Lisa Dearmon
              1801 Little Bow Ave.
              North Las Vegas, NV 89084

              Luz Carrillo
              4112 Glenfield Circle
              Las Vegas, NV 89129

              Maria Davalos Torres
              4112 Glenfield Circle
              Las Vegas, NV 89129

              Marilyn Vazquez Femenias
              11041 Leadwell Street
              Los Angeles, CA 91352
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              Martin Design Group
              Attn: Managing Member or Bankruptcy Dept
              3876 Thunderbolt Lane
              Pacific, MO 63069

              Meredith Corp
              Attn: Managing Member or Bankruptcy Dept
              PO Box 730148
              Dallas, TX 75373

              Merged Funding Group Corp.
              Attn: Isaac H. Greenfield, Esq.
              Law Offices of Isaac H. Greenfield, PLLC
              2 Executive Blvd., Ste 305
              Suffern, NY 10901

              Merged Funding Group Corp.
              Attn: Managing Member or Bankruptcy Dept
              1 Princeton Ave.
              Brick, NJ 08724

              Mitchell Winston
              2020 Old Prescott Ct.
              Richmond, VA 23238

              MTS Logistics Inc.
              Attn: Managing Member or Bankruptcy Dept
              5 West 37th Street, Ste. 300
              New York, NY 10018

              NACM Commercial Services
              Attn: Managing Member or Bankruptcy Dept
              606 N Pines, Ste. 102
              Spokane, WA 99206

              Netsuite - Oracle America, Inc.
              Attn: Managing Member or Bankruptcy Dept
              Bank of America Lockbox Services
              15612 Collections Center Dr.
              Chicago, IL 60693

              Nevada Dept. of Taxation, Bankruptcy Sec
              555 E. Washington Ave., #1300
              Las Vegas, NV 89101

              Pacific Lifeforce Sales LLC
              Attn: Managing Member or Bankruptcy Dept
              20381 Lake Forest Dr., Ste. B-18
              Lake Forest, CA 92630

              Plotline Online
              Attn: Maureen Olson
              11117 Stanley Ave. S.
              Bloomington, MN 55437
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              ProductCare
              Attn: Managing Member or Bankruptcy Dept
              420-2238
              Youkon Street
              Vancouver BC V5Y 3P2

              Richard Alan & Associates
              Attn: Managing Member or Bankruptcy Dept
              232 Gruene Trail
              Allen, TX 75002

              Rommel Bundalian Designs
              Attn: Managing Member or Bankruptcy Dept
              Bldg. #14, Berthaphil 1 Compound
              Jose Abad Santos Ave.
              Clark Freeport Zone, Clark Pampanga 2009

              Ronald Henderson
              4112 Glenfield Circle
              Las Vegas, NV 89129

              Rossy Wu Bundalian
              Bldg. #14, Berthaphil 1 Compound
              Jose Abad Santos Ave.
              Clark Freeport Zone, Clark Pampanga 2009
              Philippines

              Ryan Davidson Sales
              Attn: Managing Member or Bankruptcy Dept
              3030 Virginia St.
              Miami, FL 33133

              SBA U.S. Small Business Administration
              Attn: Managing Member or Bankruptcy Dept
              409 3rd St., SW
              Washington, DC 20416

              Schnitzer Properties
              Attn: Managing Member or Bankruptcy Dept
              3111 South Valley View Blvd., Ste. K101
              Las Vegas, NV 89102

              Smithsonian Consumer Licensing
              Attn: Managing Member or Bankruptcy Dept
              PO Box 418813
              Boston, MA 02241

              Social Security Administration
              Office of General Counsel
              Office of Program Litigation Attn: BK
              6401 Security Blvd.
              Baltimore, MD 21235
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              Spacial EFX
              Attn: Managing Member or Bankruptcy Dept
              2820 Shearwater Lane
              Frederick, MD 21701

              Spectra Marketing Group
              Attn: Managing Member or Bankruptcy Dept
              200 Davis Dr.. Unit 9
              Newmarket, ON ON L3Y 2N4
              Canada

              Square Funding Cali LLC
              Attn: Managing Member or Bankruptcy Dept
              90 E Halsey Rd.
              Parsippany, NJ 07054

              Square Funding Cali LLC
              Attn: David Fogel, Esq.
              1225 Franklin Ave., Ste. 201
              Garden City, NY 11530

              Starry Lights LLC
              Attn: Jerry R. Starry
              200 Fennel St.
              New Alexandria, PA 15670

              Super Cat Solutions
              Attn: Managing Member or Bankruptcy Dept
              PO Box 8098
              Wilson, NC 27896

              Tennessee Lighting Sales
              Attn: Brian Thomas, LW Carter
              2730 Larmon Ave.
              Nashville, TN 37204

              The Carlson Group
              Attn: Managing Member or Bankruptcy Dept
              123 Conductor Way
              Folsom, CA 95630

              The Midwest LightingGroup
              Attn: Managing Member or Bankruptcy Dept
              6070 Oak Drive
              Demotte, IN 46310

              The Oliver Group Canada Ltd.
              Attn: Managing Member or Bankruptcy Dept
              239 Denney Drive
              Angus ON L0M 1B1
              Canada
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              TOPS Lighting
              Huaihua Qianyang International Trade Co.
              No. 6, Zhongtai West Road, Hetang Town
              Pengijang District Jiangmen
              China

              U.S. Small Business Administration
              Office of General Counsel
              312 N. Spring Street, 5th Flr.
              Los Angeles, CA 90012

              United States Attorney's Office
              District of Nevada
              501 Las Vegas Blvd. South, Ste. 1100
              Las Vegas, NV 89101

              United States Trustee
              300 Las Vegas Blvd. South, #4300
              Las Vegas, NV 89101

              Vince Hall & Associates
              Attn: Vince Hall
              2012 Fern Mountain Lane
              Marietta, GA 30064

              Vincent Ingato Sales
              Attn: Managing Member or Bankruptcy Dept
              2514 Peachtree Drive
              Perkasie, PA 18944

              VPI/ La Forge Lighting and Furniture Inc
              Building 14, Berthaphil #1 Compound
              Jose Abad Santos Ave Clakr Freeport Zone
              Pampanga PH 2009
              Philippines

              Wells Fargo
              Acct No 44896324
              Writs and Levies Dept. D1111-01A
              Attn: Operation Mgr -Legal Order Process
              PO Box 1416
              Charlotte, NC 28201

              White Road Capital LLC dba GFE Holdings
              Attn: Managing Member or Bankruptcy Dept
              27-01 Queens Plaza North, Ste. 802
              Long Island City, NY 11101

              White Road Capital LLC dba GFE Holdings
              Attn: Steven Zakharyayev, Esq.
              10 W 37th Street, RM 602
              New York, NY 10018
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              WTC-Trade Mart 2015, L.P.
              Market Center Management Company, Ltd.
              Attn Managing Member or Bankruptcy Dept
              2100 Stemmons Freeway
              Dallas, TX 75207

              York Sales LLC
              Attn: Kelly York
              701 Bardfield Ave.
              Garland, TX 75041
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                                         United States Bankruptcy Court
                                                    District of Nevada
 In re   Varaluz, LLC                                                                 Case No.
                                                             Debtor(s)                Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Varaluz, LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




June 25, 2024                                   /s/ Talitha Gray Kozlowski
Date                                            Talitha Gray Kozlowski 9040
                                                Signature of Attorney or Litigant
                                                Counsel for Varaluz, LLC
                                                Garman Turner Gordon LLP
                                                7251 Amigo Street, Suite 210
                                                Las Vegas, NV 89119
                                                725-777-3000
